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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                      MONROE DIVISION



  STACEY AULTMAN and                                  *     CASE NO.: 3:16-CV-1133
  HEATHER AULTMAN

                                                            JUDGE ROBERT G. JAMES
  VERSUS

  VIJAY MAGGIO, M.D.,                                 *     MAGISTRATE JUDGE JOSEPH
  AMANDA SCHAFER, MS, DABNN,                          *     PEREZ-MONTES
  BIOTRONICS NEURO METRICS A/K/A
  THE BIOTRONIC NEURONETWORK and
  ST. FRANCIS MEDICAL CENTER



            SUPPLEMENTAL AND AMENDED COMPLAINT OF INTERVENTION

         NOW INTO COURT, through undersigned counsel, come Intervenors, O'Reilly

  Automotive Stores, Inc. and ACE American Insurance Company (hereinafter "Intervenors").

  who respectfully supplement and amend the Complaint of Intervention and petition the

  Court as follows:

                                                 I.


         Intervenors supplement and amend the Complaint of Intervention to properly name

  Intervenors in the opening paragraph and amend the opening paragraph to state as follows:

                                                 1.


                      NOW INTO COURT, through undersigned counsel, comes
             Intervenors listed as follows:

                      a. O'Reilly Automotive Stores, Inc. formerly d/b/a O'Reilly
                         Automotive Inc., a corporation, a publicly traded
                         corporation, incorporated and domiciled in Springfield.
                         Missouri with its principal place of business in Springfield,
                         Missouri, authorized to do and doing business in the State
                         of Louisiana, who is plaintiff, Stacey Aultman's employer,
                         and

                      b. ACE AMERICAN INSURANCE COMPANY, an insurance
             company, is a wholly owned subsidiary of INA Holdings Corporation,
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             incorporated in Delaware, and the insurer is domiciled, with its
             principal place of business in Philadeiphia, Pennsylvania, is
              authorized to do and doing business in the Slate of Louisiana, and
              provided workers' compensation insurance coverage and is the
             carrier for     employer (hereinafter collectively     referred   to    as
             "Intervenors"), in the above-entitled and numbered action, and who
              respectfully represent as follows:"



         Intervenors seek to supplement and amend Paragraphs 10 and 11, the prayers for

  relief of the Complaint of Intervention, to state as follows:

                                                    10.


                 Intervenors, O'Reilly Automotive Stores, Inc. and ACE
                 American insurance Company, seek judgment that the
                 Complaint of Intervention be deemed just and proper and that
                 Intervenors be permitted to become a party to this lawsuit,
                 intervenors further seek judgment herein in their favor and
                 against     Plaintiffs,   Stacey   and   Heather   Aultman, and
                 Defendants, Vijay Maggio, M.D., Amanda Schaefer, and
                 Biotronic    National, LLC. in the amount of all workers'
                 compensation benefits, which have been paid or which
                 Intervenors may become obligated to pay pursuant to the
                Louisiana Workers' Compensation Act, the exact amount to be
                established at trial, to be paid in preference and priority to any
                amounts recovered by Plaintiffs in the form of settlement or
                judgment.

                                                    11.


                 FURTHER, intervenors, O'Reilly Automotive Stores, Inc. and
                 ACE American insurance Company, pray that they be
                 recognized as entitled to a credit against any future exposure
                 that Intervenors may have under the Louisiana Workers'
                 Compensation Act after judgment is entered in this matter to
                 the full extent of any recovery by Plaintiffs in these
                 proceedings.




         Intervenors seek to add Paragraph 12, to the Complaint of Intervention, to state as

  follows:
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                                                    "12.



                 At all times pertinent to. Stacey Auitman, was employed by
                 O'Reilly Automotive Stores, Inc. As a result of the accident,
                 injuries and damages sustained by the plaintiff, Stacey
                 Auitman, Intervenors have paid to and/or on behalf of Stacey
                 Auitman, Workers' Compensation benefits under the Louisiana
                 Workers Compensation Act to include $610,826.00 to date in
                 medical expenses, as well as other benefits, pay and expenses
                 as required under the Louisiana Workers' Compensation Act
                 and those benefits are continuing to be paid.            Intervenors
                 plead that the amount in controversy exceeds $75,000.00,
                 exclusive of interest and costs, and the parties to these
                 proceedings are         citizens   of different states    permitting
                Jurisdiction before this court under 28 USC § 1332.

                                                     IV.


         Intervenors supplement and amend the Complaint of Intervention to

  add the following prayer for relief;

                 WHEREFORE, Intervenors, O'Reilly Automotive Stores, Inc.
                 and ACE American Insurance Company, seek judgment that
                 the Complaint of Intervention be deemed just and proper and
                 that Intervenors be permitted to become a party to this lawsuit.
                 Intervenors further seek judgment herein in their favor and
                 against Plaintiffs, Stacey and Heather Auitman, and
                 Defendants, Vijay Maggio, M.D., Amanda Schaefer, and
                 Biotronic National, LLC, in the amount of all workers'
                 compensation benefits, which have been paid or which
                 Intervenors may become obligated to pay pursuant to the
                 Louisiana Workers' Compensation Act, the exact amount to be
                 established at trial, to be paid in preference and priority to any
                 amounts recovered by Plaintiffs in the form of settlement or
                 judgment.

                 FURTHER, Intervenors, O'Reilly Automotive Stores, Inc. and
                 ACE American Insurance Company, pray that they be
                 recognized as entitled to a credit against any future exposure
                 that Intervenors may have under the Louisiana Workers'
                 Compensation Act after judgment is entered in this matter to
                 the full extent of any recovery by Plaintiffs in these
                 proceedings.
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                                                Respectfully submitted;

                                               TAYLOR, WELLONS, POLITZ & DUHE, APLC

                                               s/Scott Cowart


                                                B, SCOTT COWART (#21538)
                                                1515 Poydras Street, Suite 1900
                                                New Orleans, LA 70112
                                               Telephone: (504) 525-9888
                                               Facsimile: (504) 525-9899
                                               scowart@twDdlaw.com
                                                COUNSEL FOR INTERVENORS,
                                                O'REILLY AUTOMOTIVE STORES, INC. &
                                                ACE AMERICAN INSURANCE COMPANY




                                    CERTIFICATE OF SERVICE


         I hereby certify that the above and foregoing Supplemental and Amended Complaint
  of Intervention has been electronically filed with the Clerk of Court of the United States

  District Court for the Western District of Louisiana by using the CM/ECF System, which will

  send a notice of electronic filing to all counsel of record in this matter via the electronic filing
  system. I further certify that I mailed the forgoing document and notice of electronic filing by
  first-class mail to all counsel of record who are not participants in the CM/ECF system on

  this 15"^ day of May, 2017.

                                           s/Scott Cowart


                          TAYLOR, WELLONS, POLITZ & DUHE, APLC
